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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


       UNITED STATES OF AMERICA                      :
                                                     :
               v.                                    :       Criminal No. 21-cr-312 (JEB)
                                                     :
       BRADLEY STUART BENNETT,                       :
                                                     :
                              Defendant              :

                       UNITED STATES’ OPPOSITION TO
                DEFENDANT’S MOTION TO CONTINUE SENTENCING

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully opposes Defendant Bradley Stuart Bennett’s Motion to

Continue the Sentencing. ECF No. 160. The defendant was convicted of five misdemeanor

offenses for his participation in the Capitol Riot on January 6, 2021. On September 12, 2024, the

Court scheduled the sentencing hearing for January 7, 2025.

       On December 13, 2024, the defendant moved to continue both the date to file objections to

the PSR and his sentencing based on a potential grant of a pardon. See ECF 160 at 3. Defense

counsel also seeks a continuance based on “[v]arious deadlines” in another case. Id. at 2. The Court

should deny this motion.

       First, defense counsel filed objections to the PSR on December 16, 2024. Defendant’s

motion to extend the deadline to file objections to the PSR is now moot.

       Second, no material change to the facts or law at issue in this case has occurred since the

Court convicted the defendant on January 4, 2024, or set the sentencing hearing on September 12,

2024. As it stands on the current facts, unchanged since his conviction, the defendant has been

convicted of several federal offenses and now must be promptly sentenced. See Fed. R. Crim. P.

32 (“The court must impose sentence without unnecessary delay.”).

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       Third, there is a public interest in the prompt and efficient administration of justice. The

government and the Court have endeavored to deliver that interest. The government disagrees that

a continuance is warranted here, and the Court should proceed as it would in any other prosecution.

Indeed, multiple courts in this district have denied motions to continue based on defendants’

expectation and hope for a future pardon. See, e.g., United States v. David Davis 23-cr-281 (CJN),

Minute Order, November 27, 2024 (denying a motion to continue-which referenced Pope and

Lang-a misdemeanor bench trial based on potential clemency); United States v. Nathan Hughes,

23-cr-237 (CJN), Minute Order, November 14, 2024 (denying a motion to continue all proceedings

based on potential clemency); United States v. Cody Connell et al., 21-cr-84 (PLF), Mem. Op.,

November 14, 2024 (Denying a motion to continue sentencing because “[w]hatever the President-

elect may or may not do with respect to some of those convicted for their conduct at the Capitol

on January 6, 2021, is irrelevant to the Court’s independent obligations and legal

responsibilities[.]”); United States v. Whitney Johnson, 24-cr-141 (JDB), Minute Order, November

13, 2024 (denying a motion to continue all proceedings based on potential clemency); United

States v. Stephen Baker, 24-cr-121 (CRC), Minute Order, November 11, 2024 (denying a motion

to continue all proceedings based on potential clemency); United States v. Jaimee Avery, 24-cr-79

(CRC), Minute Order, November 6, 2024 (denying continuance of sentencing hearing based on

claim of potential clemency); United States v. Nicholas Fuller, 23-cr-209 (CKK), Minute Order,

November 6, 2024 (denying motion to continue sentencing hearing based on claim of potential

clemency); United States v. Carnell, et al., 23-cr-139 (BAH), Minute Order, November 6, 2024

(denying motion to continue status conference based on claim of potential clemency); United

States v. Lichnowski, 23-cr-341 (RBW), Minute Order, November 7, 2024 (denying motion to

continue sentencing hearing based on claim of potential clemency).



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       Third, although defense counsel state that they have “[v]arious deadlines…quickly

approaching” in another case, the motion fails to include those deadlines, when those deadlines

were set, and why those deadlines would impact counsel’s ability to prepare for sentencing.

       For the foregoing reasons, the Court should deny the defendant’s motion to continue and

proceed with the January 7, 2025, sentencing in this case.

                                             Respectfully submitted,

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                                             UNITED STATES ATTORNEY
                                             D.C. Bar No. 481052


DATED: December 18, 2024             By:     /s/ Anna Z. Krasinski
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